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UNITED STATES DISTRICT COURT (s
WESTERN DISTRICT OF NEW YORK

SEP 25 2020

  
    

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UNITED STATES OF AMERICA,

V. 19-CR-187-V
20-CR-56-V
KAREEM PRYOR, DECISION & ORDER
Defendant.

 

1. On July 7, 2020, the defendant, Kareem Pryor, pleaded guilty to
Count 2 of the indictment in 19-CR-187 charging a violation of Title 18, United States
Code, Section 1959(a)(3) (assault with a dangerous weapon in aid of racketeering), and
Count 1 of the indictment in 20-CR-56 charging a violation of Title 18, United States
Code, Section 841(a)(1) (possession with intent to distribute methamphetamine).
Docket Item 91.

2. On July 9, 2020, the Honorable Jeremiah J. McCarthy, United States
Magistrate Judge, filed a Report & Recommendation recommending that the
defendant's pleas of guilty be accepted and that the defendant be adjudged guilty.
Docket Item 94.

3. This Court has not received objections to the Report & Recommendation in
accordance with Title 28, United States Code, Section 636(b)(1), and Rule 59(b) of the
Federal Rules of Criminal Procedure, and the time to object now has expired.

4. This Court has carefully reviewed de novo Judge McCarthy's
Report & Recommendation (docket item 94), the plea agreement (docket item 91), the

indictments (docket items 1 (19-CR-187) and 1 (20-CR-56), a transcript of the digital
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FTR recording of the plea proceeding (docket item 95), and the applicable law. This
Court finds no legal or factual error in Judge McCarthy’s Report & Recommendation
and therefore adopts Judge McCarthy’s recommendation that the defendant’s pleas of
guilty be accepted and that the defendant be adjudged guilty of Count 2 of the
indictment in 19-CR-187 and Count 1 of the indictment in 20-CR-56.

IT IS HEREBY ORDERED that this Court adopts Judge McCarthy's July 9, 2020
Report & Recommendation, Docket Item 94, in its entirety, including the authorities cited
and the reasons given therein, and it is further

ORDERED that the Court accepts the defendant’s pleas of guilty and defers
acceptance of the plea agreement pursuant to Sentencing Guidelines Section 6B1.1(c),
and the defendant, Kareem Pryor, is now adjudged guilty under Title 18, United States
Code, Section 1959(a)(3) (assault with a dangerous weapon in aid of racketeering) and
Title 18, United States Code, Section 841(a)(1) (possession with intent to distribute

methamphetamine).

SO ORDERED.

Dated: September 25, 2020
Buffalo, New York

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LAWRENCE J. WIMAARDO
UNITED STATES DISTRICT JUDGE

 
